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      EXHIBIT D
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                                §
                                                                §
 DEUTSCHE BANK TRUST COMPANY AMERICAS, in §
 its capacity as successor indenture trustee for certain series §
 of Senior Notes, et. al.                                       §
                                                                §
 Plaintiffs,                                                    §
                                                                §
                                                                §
 vs.                                                                Civil Action No. 3:11-cv-1175
                                                                §
 BANK OF AMERICA N.A./ GWIM TRUST                               §
                                                                §
 OPERATIONS, et. al.
                                                                §
                                                                §
 Defendants.
                                                                §
                                                                §

PROPOSED ORDER TO STAY DEFENDANTS’ TIME TO ANSWER OR OTHERWISE
           RESPOND TO THE COMPLAINT IN THIS ACTION

       AND NOW, this ____ day of _________, 2011, upon consideration of Plaintiffs’ Motion

to Stay Defendants’ Time to Answer or Otherwise Respond to the Complaint, it is hereby

ORDERED that the motion is GRANTED and:

       1.      The time for Defendants to answer or otherwise respond to the Complaint in this

action is stayed until the earlier of October 31, 2011, or order by the United States Bankruptcy

Court for the District of Delaware in In re Tribune Co., No. 08-13141 (KJC), confirming a plan

of reorganization, or further order of the Bankruptcy Court or this Court (the “Stay”). In

addition, any applicable deadlines under Federal Rules of Civil Procedure 23 or 26 (or their local

counterparts) will also be held in abeyance during the pendency of the Stay.

       2.      Notwithstanding the Stay, Plaintiffs are permitted to:

               a.      amend the Complaint or move for leave to amend the Complaint;



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OR OTHERWISE RESPOND TO THE COMPLAINT IN THIS ACTION                                        Page 1
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               b.      voluntarily dismiss this action or one or more defendants pursuant to

                       Federal Rule of Civil Procedure 41;

               c.      move to add or drop a party or to sever any claim against a party pursuant

                       to Federal Rule of Civil Procedure 21;

               d.      move to consolidate and/or coordinate this action with any other action,

                       without limitation, by making a motion pursuant to 28 U.S.C. § 1407 and

                       the applicable Rules of Procedure of the U.S. Judicial Panel on

                       Multidistrict Litigation, or any applicable state rules;

               e.      file a motion pursuant Federal Rule of Civil Procedure 26(d)(1) seeking

                       preconference discovery to confirm that parties have been properly

                       identified, named and served in this action; and

               f.      file a motion seeking modification of this Order.

       3.      Notwithstanding the Stay, all Defendants or their counsel are required to enter an

appearance in this case within 30 days after the latter of entry of this Order or service of the

Complaint upon Defendant, without prejudice to any defenses that Defendant may have; and

       4.      Notwithstanding the Stay, Defendants are permitted to file responses to any

motions Plaintiffs make pursuant to section 2 of this Order.

       5.      Notwithstanding the Stay, any Defendant who was not provided with notice of

Plaintiffs’ motion prior to entry of this Order, because such Defendant had not yet been served

with the Complaint or appeared in the action, may move this Court at any time to vacate or

modify this Order upon notice to Plaintiffs and all other Defendants in this action.

       6.      At such time as the Stay is lifted or terminates, this Court shall set the schedule

for answering or otherwise responding to the Complaint, unless the action has been transferred to



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OR OTHERWISE RESPOND TO THE COMPLAINT IN THIS ACTION                                        Page 2
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another court for coordinated pretrial proceedings.

         SO ORDERED.

         SIGNED this ___ day of _________, 2011.


                                                _______________________________________
                                                    UNITED STATES DISTRICT JUDGE




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OR OTHERWISE RESPOND TO THE COMPLAINT IN THIS ACTION                              Page 3
